CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 1 of 39




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CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 2 of 39




                          In the Matter Of:

                  In Re: Pork Antitrust Litigation




                MICHAEL WILLIAMS, PH.D.
                            June 21, 2022
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 3 of 39
   In Re: Pork Antitrust Litigation                       Michael Williams, Ph.D.
                                                                  June 21, 2022

                                                                          25
·1· ·documenting Triumph's sales of pork products.

·2· · · ·Q. And that structured data does not include

·3· ·data on Triumph's hog production.· Correct?

·4· · · · · MR. FINLEY:· Hold on.· Objection on the

·5· ·basis of the expert stip to the extent that this

·6· ·is getting into materials possibly considered but

·7· ·not relied upon.

·8· · · ·A. Yeah.· The dependent variable in the

·9· ·overcharge regression, again, it's Triumph's.

10· ·Part of the dependent variable would be Triumph's

11· ·sales, not its output.

12· · · ·Q. Not its hog production.· Correct?

13· · · · · MR. FINLEY:· Objection to form.

14· · · ·A. It's -- the dependent variable is

15· ·Triumph's sales of the disputed pork products.

16· ·That's part of the dependent variable.

17· · · ·Q. Under your assumptions, when did the

18· ·conspiracy start?

19· · · · · MR. FINLEY:· Objection, form.

20· · · ·A. So the plaintiffs allege that the

21· ·conspiracy began in January of 2009.

22· · · ·Q. And under your assumption, was the

23· ·conspiracy continuous for the entire period

24· ·between January 2009 and June of 2018?

25· · · · · MR. FINLEY:· And objection, form.· Also


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 25
                                                                                 YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 4 of 39
   In Re: Pork Antitrust Litigation                       Michael Williams, Ph.D.
                                                                  June 21, 2022

                                                                          26
·1· ·objection on the basis of expert stip to the

·2· ·extent this gets into materials considered but not

·3· ·relied upon.

·4· · · ·A. Yes.· My understanding is that the

·5· ·plaintiffs allege a single conspiracy that was

·6· ·present during that time period.

·7· · · ·Q. Are you assuming that the conspiracy was

·8· ·effective continuously throughout that time period

·9· ·or were there periods when it fell apart?

10· · · · · MR. FINLEY:· Objection, form.

11· · · ·A. I'm not making an assumption in that

12· ·regard one way or the other.· The overcharge

13· ·regression doesn't assume that the alleged

14· ·conspiracy had any effect on prices.· It tests

15· ·whether or not there was an effect on prices.

16· · · ·Q. Are you assuming that defendants agreed to

17· ·restrict hog production in each year between 2009

18· ·and 2018?

19· · · · · MR. FINLEY:· Objection, form.· Also,

20· ·objection on the basis of expert stipulation.

21· · · ·A. My report doesn't make a specific

22· ·statement in that regard.

23· · · · · But I believe it's correct, as I just

24· ·testified a moment ago, that the plaintiffs have

25· ·asserted that there was a single conspiracy that


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 26
                                                                                 YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 5 of 39
   In Re: Pork Antitrust Litigation                       Michael Williams, Ph.D.
                                                                  June 21, 2022

                                                                          27
·1· ·affected pork prices of the relevant products and

·2· ·that that alleged conspiracy was present from

·3· ·January 2009 through June 2018.

·4· · · ·Q. Are you assuming that defendants agreed to

·5· ·restrict hog production in 2016?

·6· · · · · MR. FINLEY:· Objection, form.· Also,

·7· ·objection on the basis of expert stipulation.

·8· · · ·A. Again, my report doesn't have a specific

·9· ·statement to that effect.· But the -- I believe

10· ·that, as I said, the complaint alleges that there

11· ·was a conspiracy as the complaint says -- I'm

12· ·looking at Paragraph 6 -- "'Starting in at least

13· ·2009 and continuing to the present, Defendants

14· ·conspired to fix, raise, maintain and stabilize

15· ·pork prices.'"

16· · · · · And then it goes on to talk about -- the

17· ·complaint goes on to talk about various mechanisms

18· ·through which this alleged conspiracy was

19· ·effectuated --

20· · · ·Q. And I'd like to talk -- go ahead.· Please

21· ·finish.

22· · · ·A. I'm sorry.

23· · · · · -- again, over the relevant time period,

24· ·which would be January 2009 to June 2018.

25· · · ·Q. And you mentioned mechanisms.· That's what


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 27
                                                                                 YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 6 of 39
   In Re: Pork Antitrust Litigation                       Michael Williams, Ph.D.
                                                                  June 21, 2022

                                                                          31
·1· ·answered, lack of foundation.

·2· · · ·A. Yeah.· I'm assuming that in 2016 the

·3· ·defendants engaged in the conduct that's alleged

·4· ·in the complaint as it relates to conduct that

·5· ·allegedly supported the claimed conspiracy.

·6· · · ·Q. Are you assuming that all decreases in sow

·7· ·inventory between January of 2009 and June of 2018

·8· ·were a result of the alleged conspiracy?

·9· · · · · MR. FINLEY:· Hold on.· And objection,

10· ·form, also on the basis of expert stipulation.

11· ·This is something possibly considered, not

12· ·necessarily relied on.

13· · · ·A. My report doesn't offer such an opinion.

14· ·My report doesn't make such.· It doesn't have a

15· ·statement about that.

16· · · ·Q. Are you assuming that all decreases in hog

17· ·production between January of 2009 and June

18· ·of 2018 were a result of the conspiracy?

19· · · · · MR. FINLEY:· Same objection.

20· · · ·A. Again, the -- I mean, the complaint speaks

21· ·for itself.· So I'm assuming that the allegations

22· ·in the complaint are true as it pertains to those

23· ·allegations that are relevant to the alleged

24· ·conspiracy.

25· · · · · I don't specifically recall right now if


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 31
                                                                                 YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 7 of 39
   In Re: Pork Antitrust Litigation                       Michael Williams, Ph.D.
                                                                  June 21, 2022

                                                                          32
·1· ·the complaint has the statement that you just

·2· ·made.· I don't remember right now.

·3· · · ·Q. Are you assuming that all increases in

·4· ·exports between January 2009 and June 2018 were a

·5· ·result of a conspiracy?

·6· · · · · MR. FINLEY:· Same objections.

·7· · · ·A. Yeah.· I'll repeat my answer.

·8· · · · · My answer is that I am assuming that the

·9· ·allegations in the complaint are true as it

10· ·pertains to the alleged conspiracy.· I don't

11· ·specifically recall right now if the complaint

12· ·makes such an allegation.

13· · · ·Q. Do you recall whether the complaint

14· ·alleges the defendants coordinated reductions in

15· ·kill levels at their plants?

16· · · ·A. I don't recall that right now.

17· · · ·Q. Does the conspiracy, as you understand it

18· ·or assume it, involve an agreement not to expand

19· ·capacity?

20· · · ·A. I don't specifically recall that statement

21· ·in the complaint.

22· · · ·Q. Are you making any assumptions for

23· ·purposes of your opinions about defendants'

24· ·slaughter capacity?

25· · · · · MR. FINLEY:· Same objections as above.


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 32
                                                                                 YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 8 of 39
   In Re: Pork Antitrust Litigation                       Michael Williams, Ph.D.
                                                                  June 21, 2022

                                                                          33
·1· · · ·A. My report doesn't contain a specific

·2· ·statement about slaughter capacities.

·3· · · ·Q. Could we take a look at the complaint,

·4· ·Paragraph 162, which is on page 65.

·5· · · · · THE VIDEOGRAPHER:· Counsel, what page is

·6· ·it again?

·7· · · · · MR. SCHWINGLER:· I believe it's on

·8· ·page 65.

·9· · · · · Caylob, it's on the next page,

10· ·Paragraph 162.

11· · · ·Q. So plaintiffs allege, "Defendants further

12· ·refused to increase their capacity and gain market

13· ·share even when market fundamentals and economics

14· ·dictated otherwise.· For example, during the 2014

15· ·PEDv epidemic, which caused industry supply

16· ·disruptions, Eric Haman, Defendant Clemens Food

17· ·Group's communications manager, stated the disease

18· ·'"had a very minimal impact on our hog flow,

19· ·especially when you compare it to others in the

20· ·industry," Haman said.· "That's one of the many

21· ·benefits of raising hogs in Pennsylvania, since we

22· ·have a much lower density of pigs than other

23· ·states, which decreases the risk of (a virus) like

24· ·this."'"

25· · · · · Did I read that right?


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 33
                                                                                 YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 9 of 39
   In Re: Pork Antitrust Litigation                       Michael Williams, Ph.D.
                                                                  June 21, 2022

                                                                          34
·1· · · ·A. I believe so.

·2· · · ·Q. And then the plaintiffs go on to allege,

·3· ·"Yet, in furtherance of their conspiracy Defendant

·4· ·Clemens did not take advantage of having few PEDv

·5· ·infected pigs.· Instead of attempting to increase

·6· ·their market share, they stayed the course with

·7· ·their fellow competitors."

·8· · · · · Did I read that right?

·9· · · ·A. I believe so.

10· · · ·Q. Are you assuming that allegation to be

11· ·true?

12· · · · · MR. FINLEY:· Objection, form.

13· · · ·A. Well, the overcharge regression doesn't

14· ·have data on Clemens's production of hogs.· It has

15· ·data on Clemens's sales of hogs.· But it's just

16· ·empirically looking at those prices and then

17· ·asking whether or not those prices are consistent

18· ·with the nonconspiratorial explanatory factors; in

19· ·other words, the other right-hand-side variables

20· ·in the regression.

21· · · · · And as it pertains to the production

22· ·regression, as we talked about earlier, the

23· ·production regression doesn't use any defendant's

24· ·individual hog production.

25· · · ·Q. Does whether or not Clemens took advantage


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 34
                                                                                 YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 10 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                           43
·1· ·page 16.

·2· · · ·Q. So in Paragraph 34 you write, "In this

·3· ·Section, I will review the horizontal and vertical

·4· ·structure of the pork industry, including long-run

·5· ·trends in the industry structure economically

·6· ·relevant in this matter."

·7· · · · · Did I read that right?

·8· · · ·A. I believe so.

·9· · · ·Q. What do you mean by "economically

10· ·relevant"?

11· · · ·A. I would refer you generally to

12· ·Section III.A., where I talk about the market

13· ·structure of the pork industry.

14· · · · · So I would say the economically relevant

15· ·aspects that I'm discussing in Paragraph 34 are

16· ·those that pertain to the discussion that appears

17· ·later in Section III.A.

18· · · ·Q. I guess here is what I'm getting at.· By

19· ·"economically relevant," are you referring to the

20· ·trends in industry structure that are relevant to

21· ·assessing whether the alleged conspiracy impacted

22· ·pork prices?

23· · · ·A. No, I wouldn't say it that way.

24· · · · · I would say that "economically relevant,"

25· ·the phrase that appears in Paragraph 34, is


   www.LexitasLegal.com/Premier       Lexitas              888-267-1200 Page 43
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 11 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                           44
·1· ·connected with the discussion that begins on

·2· ·page 34, particularly Paragraph 69, which talks

·3· ·about the market structure of the pork industry

·4· ·and whether or not that market structure is or is

·5· ·not conducive to the existence of collusion.

·6· · · ·Q. Now look at the paragraph, the section

·7· ·that starts on Paragraph 34 and spans, you know,

·8· ·several pages.· Do you see a header about

·9· ·"Consolidation and specialization of farming

10· ·operations"?· That's Romanette i.

11· · · · · The next subheader, Romanette ii, "Hog

12· ·farming and hog packing are increasingly

13· ·integrated," and then -- I guess those are the

14· ·two.

15· · · · · My question is, are the subject matter of

16· ·these paragraphs in your report, is that

17· ·information that is relevant to assessing whether

18· ·the alleged conspiracy impacted pork prices?

19· · · ·A. No, I wouldn't say it that way.

20· · · · · I would say that as the -- remember, the

21· ·name of this section was "Industry Background."

22· · · · · So I would say that these sections are

23· ·providing industry background for the edification

24· ·of the reader and that the -- generally, in this

25· ·section I tried to focus on, as it says in


   www.LexitasLegal.com/Premier       Lexitas              888-267-1200 Page 44
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 12 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                           45
·1· ·Paragraph 34, the economically relevant aspects of

·2· ·the industry background.

·3· · · · · And those -- as I said earlier, the

·4· ·economically relevant parts of the industry

·5· ·background that are discussed in Section II are

·6· ·those that pertain primarily to the discussion

·7· ·that is present in Section III.A.

·8· · · ·Q. In Paragraph 35 of your report, which is

·9· ·on page 16, you write -- the last sentence --

10· ·well, the second to the last sentence reads, "The

11· ·resulting industry structure is now moderately

12· ·concentrated among a relatively few large

13· ·companies, including the pork integrator

14· ·Defendants.· Many of these companies, including

15· ·Defendants, have also acquired upstream hog

16· ·farming operations or entered into long-term,

17· ·vertical contracts with hog farms, thereby

18· ·increasing the pork integrator Defendants' degree

19· ·of upstream vertical control."

20· · · · · Did I read that right?

21· · · ·A. I believe so.

22· · · ·Q. And is that an example of a trend in

23· ·industry structure that you deem economically

24· ·relevant in this matter?

25· · · · · MR. FINLEY:· Objection to form.


   www.LexitasLegal.com/Premier       Lexitas              888-267-1200 Page 45
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 13 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                           67
·1· · · ·Q. This is your opportunity to tell us

·2· ·whether your opinions -- whether this scenario,

·3· ·whether defendants preventing other companies from

·4· ·expanding or causing them to grow fewer hogs is

·5· ·relevant to your opinions.· I've asked it every

·6· ·way I can think of.· So we'll move on.· We'll

·7· ·reserve all rights to go to the court on this one.

·8· · · · · MR. SCHWINGLER:· We've been going for

·9· ·about an hour 25.· Is now a good time for a break?

10· ·I'm happy to keep going.

11· · · · · THE WITNESS:· I'm happy to keep going.

12· · · · · THE REPORTER:· I could use a restroom

13· ·break.

14· · · · · THE VIDEOGRAPHER:· The time is 9:24 a.m.

15· ·We're now going off the record.

16· · · · · (Recess from 9:24 a.m. to 9:36 a.m.)

17· · · · · THE VIDEOGRAPHER:· The time is 9:36 a.m.

18· ·We're now back on the record.

19· ·BY MR. SCHWINGLER:

20· · · ·Q. Dr. Williams, I'd like to ask some

21· ·questions about exports.

22· · · · · First things first, in your understanding,

23· ·is an agreement to increase exports part of the

24· ·alleged conspiracy?

25· · · · · MR. FINLEY:· Objection, form, calls for a


   www.LexitasLegal.com/Premier       Lexitas              888-267-1200 Page 67
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 14 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                           68
·1· ·legal conclusion.

·2· · · ·A. Yeah.· I was going to say, that sounds

·3· ·like you're really asking for a legal opinion.

·4· · · · · As I've said earlier, the complaint speaks

·5· ·for itself.· I've assumed that the -- as we talked

·6· ·about in the first sentence in Paragraph 12, that

·7· ·for purposes of estimating overpayments, if any,

·8· ·caused by the alleged conspiracy, I've assumed

·9· ·that the allegations in the complaint are true.

10· · · · · I don't specifically remember a statement

11· ·about an alleged agreement to restrict exports.

12· · · · · Again, as I said earlier, my understanding

13· ·is that the plaintiffs allege a single conspiracy

14· ·and then describe various mechanisms that the

15· ·defendants allegedly used to carry out that

16· ·alleged conspiracy.

17· · · · · I don't specifically remember right now

18· ·whether or not there is an allegation about an

19· ·alleged agreement to restrict exports.· I just

20· ·don't recall that.

21· · · ·Q. When you constructed your regressions to

22· ·measure the impact of the alleged conspiracy on

23· ·pork prices, did you assume that the conspiracy

24· ·included increased exports?

25· · · · · MR. FINLEY:· Objection, form, vague,


   www.LexitasLegal.com/Premier       Lexitas              888-267-1200 Page 68
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 15 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                           69
·1· ·ambiguous, lack of foundation.

·2· · · ·A. Well, again, I won't repeat the answer I

·3· ·just gave you.· But again, I'd just take you back

·4· ·to that first sentence in Paragraph 12.· But then

·5· ·if we look at the output regression on page 105 in

·6· ·Table 4, there is no export variable in this

·7· ·regression.

·8· · · ·Q. What's the significance of that?

·9· · · ·A. Well, the significance of it is you're

10· ·asking if I made an assumption about exports.· And

11· ·the answer is that it's not -- there isn't an

12· ·export variable regression.· So there's no

13· ·specific assumption about exports one way or the

14· ·other.

15· · · ·Q. The purpose -- the high-level purpose of

16· ·your regressions is to isolate the effects of

17· ·defendants' alleged conspiracy from the effects of

18· ·nonconspiratorial factors.· Is that fair?

19· · · · · MR. FINLEY:· Objection, form.

20· · · ·A. Yeah.· That's a little vague.· But I'd say

21· ·I would generally agree with that.

22· · · ·Q. In order to do that, you need to start

23· ·with what defendants are alleged to have done.

24· ·Correct?

25· · · · · MR. FINLEY:· Objection to form.


   www.LexitasLegal.com/Premier       Lexitas              888-267-1200 Page 69
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 16 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                           77
·1· ·Illinois Brick states, and then using the

·2· ·pass-through information and other information

·3· ·that's discussed in Sections IV and V to come up

·4· ·with the estimate of damages, which is in

·5· ·Table 12.

·6· · · · · But those discussions don't specifically

·7· ·rely on Figure 6.

·8· · · ·Q. You're not opining that the members of the

·9· ·commercial and institutional indirect purchaser

10· ·class paid higher prices for pork as a result of

11· ·increases in exports?

12· · · · · MR. FINLEY:· And objection, vague,

13· ·ambiguous, calls for speculation, calls for a

14· ·legal conclusion.

15· · · ·A. Yeah.· We talked earlier about the

16· ·overcharge regression, which is in a sense the

17· ·beginning of the damage calculation.

18· · · · · And there is no variable in that

19· ·overcharge regression which appears in Table 4,

20· ·there is no variable in there for exports, so

21· ·there's not -- certainly no direct connection

22· ·between Figure 6 and the estimated overcharge.

23· · · · · And then as I mentioned a moment ago, the

24· ·actual calculation of damages, which of course

25· ·goes through a number of steps to get to the


   www.LexitasLegal.com/Premier       Lexitas              888-267-1200 Page 77
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 17 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                           78
·1· ·relevant volume of commerce, is in a sense

·2· ·affected by exports, but it's really looking at

·3· ·the domestic sales of the relevant pork products.

·4· · · ·Q. Are you offering an opinion that increases

·5· ·in exports resulted in higher prices for members

·6· ·of the class during the period 2009 to June 2018?

·7· · · · · MR. FINLEY:· Objection to form, vague,

·8· ·ambiguous.

·9· · · ·A. No.· I don't believe my report says that.

10· ·Again, as we've talked about, Table 4 does not

11· ·have a variable for exports.

12· · · ·Q. Let's take a look at Paragraph 62 of your

13· ·report, which is on page 31.

14· · · ·A. Yes.· I'm here.

15· · · ·Q. And this paragraph -- well, the header

16· ·above this paragraph is "Events affecting pork

17· ·exports."· Correct?

18· · · ·A. That is correct.

19· · · ·Q. And then in Paragraph 62 you wrote, "Net

20· ·U.S. pork exports increased during 2000 through

21· ·2020, this increase was not uniform."

22· · · · · Did I read that right?

23· · · ·A. You did.

24· · · ·Q. And then you say, "As Figure 6 above

25· ·shows, net exports fell in some years (2009 and


   www.LexitasLegal.com/Premier       Lexitas              888-267-1200 Page 78
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 18 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                           79
·1· ·2013-2015) before rebounding later."

·2· · · · · Did I read that right?

·3· · · ·A. You did.

·4· · · ·Q. And then you wrote, "These temporary

·5· ·decreases in exports are often due to factors and

·6· ·events outside of the control of U.S. pork

·7· ·producers and pork processors."

·8· · · · · Did I read that correctly?

·9· · · ·A. Yes, you did.

10· · · ·Q. And it's in your report.· I take it you

11· ·agree with that statement?

12· · · ·A. Yes, I agree.

13· · · ·Q. And then you quote from the USDA.· You

14· ·say, "For example, in April 2009, the USDA

15· ·reported:

16· · · · · "'Deterioration in the global economic

17· ·situation, restrictive trade policies, the

18· ·stronger U.S. dollar and changing market

19· ·conditions, are among the reasons for falling

20· ·demand in some major importing countries.'"

21· · · · · Did I read that right?

22· · · ·A. You did.

23· · · ·Q. And then you say, "This decline was

24· ·transitory, and international meat trade rebounded

25· ·in 2010, benefitting U.S." . . . "exporters."


   www.LexitasLegal.com/Premier       Lexitas              888-267-1200 Page 79
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 19 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         141
·1· · · · · So as I said, the goal would be to

·2· ·identify a period of time for the benchmark that

·3· ·was unaffected by the disputed conduct.

·4· · · · · And I believe that the econometric

·5· ·evidence and the production regression, the other

·6· ·evidence in the paragraphs I cited earlier, as

·7· ·well as the evidence in the complaint, supports

·8· ·the instruction I received about what period I

·9· ·should use as the damages period.

10· · · · · And then I believe it's appropriate to use

11· ·as the benchmark period the period of time that

12· ·just precedes the onset of the damages period and

13· ·then working back from there.

14· · · ·Q. Other than the fact that 2008 just

15· ·precedes the alleged damages period, you're not

16· ·relying on any analysis of industry factors for

17· ·market conditions in 2008 that, in your opinion,

18· ·support using it as a benchmark for analyzing the

19· ·production that came in the years to follow.· Is

20· ·that fair?

21· · · · · MR. FINLEY:· Objection, asked and

22· ·answered.

23· · · ·A. I don't think I'd agree with quite the way

24· ·you're saying it.

25· · · · · What I testified earlier to was my report,


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 141
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 20 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         142
·1· ·for example, does not contain an opinion that

·2· ·there was -- obviously I'm not going to repeat

·3· ·everything that's in Subsection III.B., which

·4· ·relates to actions against the defendants'

·5· ·unilateral self-interest in the absence of an

·6· ·agreement.

·7· · · · · But my report -- maybe I'll state it in

·8· ·the alternative.

·9· · · · · My report does not offer an opinion that

10· ·2008 is contaminated by the disputed conduct.· So

11· ·I believe that 2008 is an appropriate year to

12· ·include in the benchmark.

13· · · ·Q. And I'm not asking whether you think '08

14· ·is contaminated by the disputed conduct.· I'm just

15· ·trying to understand what you're relying on in

16· ·selecting your benchmark period.

17· · · · · So I understand it's a year before the

18· ·alleged conspiracy started.· I understand you have

19· ·data available for that year.

20· · · · · Other than those two things, is there

21· ·anything else about 2008 that you're relying on

22· ·when you select it as part of your benchmark?

23· · · · · MR. FINLEY:· Same objection.

24· · · ·A. Well, again, I'm not going to repeat the

25· ·long answers that I've given in the last couple of


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 142
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 21 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         143
·1· ·minutes.

·2· · · · · But the -- I believe it's appropriate to

·3· ·include 2008 in the benchmark because it's not in

·4· ·the damages period.· It precedes the damages

·5· ·period, precedes the period used, for example, in

·6· ·the production regression.

·7· · · · · I won't go through all of them, obviously,

·8· ·but the two different sets of paragraphs I cited

·9· ·earlier about evidence about communications, the

10· ·information that's in the complaint.

11· · · · · As I said, so far as I'm aware, it is

12· ·appropriate in the context of the production

13· ·regression and the overcharge regression to use --

14· ·to consider 2008 as part of the benchmark period.

15· · · · · And as I said earlier, the goal would

16· ·be -- is always in identifying a benchmark period

17· ·to identify a period of time in which the disputed

18· ·conduct was not present.

19· · · · · And so far as I know, the disputed conduct

20· ·was either not present or certainly less present.

21· ·Again, it's preferable from an econometric

22· ·perspective if there's no disputed conduct in the

23· ·benchmark period.

24· · · ·Q. Is your production regression sensitive to

25· ·including 2008 in the benchmark period?


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 143
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 22 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         144
·1· · · · · MR. FINLEY:· Objection.· And I'm

·2· ·definitely going to object on the basis of the

·3· ·expert stip here since this does seem to ask for

·4· ·preliminary work product or alternate calculations

·5· ·if they were made.

·6· · · · · MR. SCHWINGLER:· I'm going to be very

·7· ·clear about what I'm asking for.· I'm not asking

·8· ·for preliminary models.· I'm asking whether the

·9· ·model that he is offering is sensitive to

10· ·inclusion of 2008 in the benchmark period.· This

11· ·is his opportunity to answer that question.

12· · · · · If you're going to instruct him not to

13· ·answer, you can do that.· But my question is not

14· ·about preliminary work.· It's about whether his --

15· ·the work he is relying on is sensitive to that

16· ·variable.

17· · · · · MR. FINLEY:· And perhaps there are other

18· ·ways he could answer this without reference to

19· ·preliminary work.· But it seems like one thing

20· ·this -- the one salient thing this might call for

21· ·is preliminary work.

22· · · · · Sorry.· In other words, are you defining

23· ·"sensitivity" in a way that doesn't include

24· ·preliminary work, reference to preliminary work?

25· · · · · MR. SCHWINGLER:· I want to know if he's


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 144
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 23 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         152
·1· · · ·A. My report doesn't offer an opinion about

·2· ·that.

·3· · · ·Q. You would agree that in order to make

·4· ·pork, you have to have a hog.· Correct?

·5· · · ·A. That would be my understanding.

·6· · · ·Q. So do you dispute that hog supply impacts

·7· ·the quantity of pork produced in the United

·8· ·States?

·9· · · · · MR. FINLEY:· Objection, form.

10· · · ·A. I don't have a specific reason to dispute

11· ·that.· I'm just correctly noting that my report

12· ·doesn't offer an opinion.

13· · · ·Q. And your production regression does not

14· ·control for changes in hog supply, does it?

15· · · · · MR. FINLEY:· Objection, form.

16· · · ·A. Well, it controls for a number of factors

17· ·that affect -- related to that.

18· · · · · It controls for hog costs.· It controls

19· ·for the plant costs of pork processing.· It

20· ·controls for the piglet loss rate.· It controls

21· ·for swine flu.

22· · · · · So it controls for a number of factors,

23· ·all the factors that are listed in Table 3.· It

24· ·doesn't have a specific variable called "supply of

25· ·hogs."


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 152
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 24 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         153
·1· · · ·Q. You don't use USDA data on how many hogs

·2· ·were actually produced between 2005 and whatever

·3· ·the year was, 2020, as an input into your

·4· ·production regression, do you?

·5· · · ·A. That is correct.· There's no independent

·6· ·variable of what -- of the type that you're

·7· ·describing now.

·8· · · ·Q. There's also no independent variable that

·9· ·accounts for changes in hog prices.· Correct?

10· · · · · MR. FINLEY:· Objection, form.

11· · · ·A. Yes.· There's a variable -- there are

12· ·related variables, but there's not a variable

13· ·that's specifically called "hog prices."

14· · · ·Q. And Paragraph 25 of your report -- sorry

15· ·to jump around.· It's on this topic.

16· · · · · MR. SCHWINGLER:· It's on page 12, Caylob.

17· · · ·Q. So in Paragraph 25 you write, "The cost of

18· ·acquiring live hogs -- be it from a packer-owned

19· ·farm, a contract farm, or the public market -- is

20· ·the most significant part of packing and

21· ·processing operations, accounting for

22· ·approximately 70% of the total cost."

23· · · · · Did I read that correctly?

24· · · ·A. Yes, sir.

25· · · ·Q. And you would agree with me that in


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 153
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 25 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         154
·1· ·circumstances where a packer buys a hog from a

·2· ·third-party producer, its cost of acquiring that

·3· ·hog would be the price it paid for the hog.

·4· ·Correct?

·5· · · ·A. That sounds right.

·6· · · ·Q. Does the total U.S. sow inventory affect

·7· ·the quantity of pork produced in the United

·8· ·States?

·9· · · · · MR. FINLEY:· Objection, calls for

10· ·speculation.

11· · · ·A. My report doesn't offer an opinion on

12· ·that.

13· · · ·Q. And your production regression does not

14· ·include a control variable for sow inventory.

15· ·Correct?

16· · · ·A. That is correct.

17· · · ·Q. Does the number of pigs imported from

18· ·Canada affect the quantity of pork produced in the

19· ·United States?

20· · · ·A. My report does not offer an opinion on

21· ·that.

22· · · ·Q. And your production regression does not

23· ·include a control variable to address changes in

24· ·pigs imported from Canada.· Correct?

25· · · ·A. That is correct.


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 154
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 26 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         155
·1· · · ·Q. Does overseas demand for U.S. pork affect

·2· ·the quantity of pork produced in the United States

·3· ·net of net exports?

·4· · · ·A. My report does not offer an opinion on

·5· ·that.· No.

·6· · · ·Q. Your production regression does not

·7· ·include a control variable that addresses changes

·8· ·in overseas demand for U.S. pork.· Correct?

·9· · · ·A. That is correct.

10· · · ·Q. Do changes in pork supply overseas, such

11· ·as a disease outbreak in China, impact the

12· ·quantity of pork exported out of the United States

13· ·to other countries?

14· · · · · MR. FINLEY:· Objection, form.

15· · · ·A. My report does not offer an opinion on

16· ·that.

17· · · ·Q. And your report does not include a control

18· ·variable to address changes in overseas pork

19· ·supply.· Correct?

20· · · ·A. That is correct.

21· · · · · MR. FINLEY:· Objection.

22· · · ·Q. Do changes in currency exchange rates

23· ·impact or affect the quantity of pork exported to

24· ·other countries?

25· · · · · MR. FINLEY:· Same objection.


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 155
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 27 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         202
·1· · · ·Q. And I can't remember.· I know I asked you

·2· ·these questions about your production regression.

·3· ·I'm drawing a blank on whether I asked as to the

·4· ·overcharge.· So apologies if we're double-dipping

·5· ·here.

·6· · · · · Did you run any sensitivity checks on the

·7· ·overcharge regression that you report -- that you

·8· ·disclose in your report?

·9· · · · · MR. FINLEY:· Sure.· And so the question

10· ·has changed.· I'll object on the basis of expert

11· ·stip to the extent this is calling for calculation

12· ·that is not shown in the report or relied upon.

13· · · ·A. So the only overcharge regression that I'm

14· ·showing in my report is the one shown in Table 4.

15· · · ·Q. And you're not defending this overcharge

16· ·report -- the overcharge regression that you

17· ·disclose in your report on the basis that it is

18· ·not sensitive to slight modifications and

19· ·assumptions.· Is that fair?

20· · · · · MR. FINLEY:· Objection, form.

21· · · ·A. I would say that what I'm relying on are

22· ·the analyses that I've undertaken to perform the

23· ·overcharge regression results.· And that's -- and

24· ·all of the bases for that, all of the facts, all

25· ·of the data, all the modeling, that is all


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 202
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 28 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         203
·1· ·disclosed in my report.

·2· · · ·Q. Is your overcharge regression sensitive to

·3· ·your decision to designate one damages period

·4· ·covering 2009 through June 2018?

·5· · · · · MR. FINLEY:· Objection on the basis of the

·6· ·expert stip.

·7· · · ·A. My report only shows -- only relies on a

·8· ·single dummy variable for that period January 2009

·9· ·through June 2018.

10· · · · · MR. SCHWINGLER:· I want to make sure the

11· ·record is clear on this and I'm not -- this isn't

12· ·an attempt to be argumentative.

13· · · · · Blaine, are you instructing him not to

14· ·answer my question?

15· · · · · MR. FINLEY:· Well, I thought I did.

16· · · · · MR. SCHWINGLER:· You objected.· I didn't

17· ·hear an instruction.· He did not answer my

18· ·question.· I want to make sure the record is clear

19· ·as to why.

20· · · · · MR. FINLEY:· What's the pending question?

21· · · · · MR. SCHWINGLER:· Let me do the question

22· ·again.· This isn't an attempt to -- this isn't

23· ·rhetorical.· I just want to make sure the

24· ·transcript is clear.

25· · · · · So I need to scroll back up -- here we go.


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 203
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 29 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         204
·1· · · · · So my question is, "Is your overcharge

·2· ·regression sensitive to your decision to designate

·3· ·one damages period covering 2009 through

·4· ·June 2018?"

·5· · · · · MR. FINLEY:· Sure.· And so I will object

·6· ·on the basis of the expert stip to the extent that

·7· ·the only basis of knowledge is preliminary

·8· ·calculations or other preliminary work product

·9· ·done in anticipation of this report.

10· · · · · Otherwise, the witness may answer.

11· · · ·A. So the answer is, I have reported one

12· ·regression result for the overcharge regression.

13· · · · · And the bases for that regression are all

14· ·disclosed in my report, everything I've relied on,

15· ·all the data I've relied on, all the modeling I've

16· ·relied on, and that's what's presented in Table 4.

17· · · ·Q. And are you unwilling to answer the

18· ·question whether you -- whether your model is

19· ·sensitive to using one damages period?

20· · · · · MR. FINLEY:· Objection, form, lack of

21· ·foundation.· Also objection on the basis of the

22· ·expert stip.

23· · · ·A. I think I've answered your question.· My

24· ·answer -- I won't repeat the answer I just gave

25· ·because I've given it two or three times now.             I


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 204
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 30 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         205
·1· ·really don't have anything else to add.

·2· · · ·Q. Your answer didn't state whether or not

·3· ·your regression model was sensitive to the

·4· ·decision to use one damages period.

·5· · · · · And I'm just trying to understand, is that

·6· ·a question you're not answering based on Counsel's

·7· ·objections?· Is it a question you don't know the

·8· ·answer to?

·9· · · · · It's unclear to me from the record right

10· ·now which is which.

11· · · · · MR. FINLEY:· It's a broad question.· But

12· ·also, are you asking him about something in his

13· ·report or are you just asking this general

14· ·proposition that may touch on preliminary work

15· ·product?

16· · · · · MR. SCHWINGLER:· I'm asking him whether

17· ·his overcharge regression is sensitive to using

18· ·one damages period.· That's the question.

19· · · · · Look, this is your opportunity to let your

20· ·expert defend his work.· If you're going to

21· ·instruct him not to do that, then the record is we

22· ·asked the question, "Is your model sensitive?"

23· · · · · Plaintiff counsel instructed the witness

24· ·not to answer.

25· · · · · MR. FINLEY:· Now you're mischaracterizing


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 205
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 31 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         206
·1· ·the record.· And I disagree with that

·2· ·characterization of the record.· And there would

·3· ·be a lot of criticism to this line of questioning

·4· ·that I would level that maybe doesn't make sense

·5· ·to go into right now on the record, but we can.

·6· · · · · MR. SCHWINGLER:· If you're not instructing

·7· ·him not to answer, then I want an answer to the

·8· ·question.

·9· · · · · MR. FINLEY:· Part of the problem is the

10· ·question is very broad and vague and ambiguous;

11· ·and therefore, it's unclear to what degree this

12· ·question will touch on preliminary work product.

13· · · · · But it seems that it may well, since -- I

14· ·mean, is there anything labeled "sensitivity

15· ·analysis" in the report you're asking him about?

16· · · · · MR. SCHWINGLER:· I have not seen it.

17· · · · · MR. FINLEY:· Then that . . .

18· ·BY MR. SCHWINGLER:

19· · · ·Q. Dr. Williams, do you understand what I

20· ·mean by -- when I ask you whether your model is

21· ·sensitive to a certain choice you make and how you

22· ·constructed the model?

23· · · ·A. I would say it's very vague because a

24· ·model can be sensitive for different reasons.· As

25· ·I've said, my regression results are shown in


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 206
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 32 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         207
·1· ·Table 4, period.

·2· · · ·Q. I'm going to ask the question one more

·3· ·time.

·4· · · · · MR. SCHWINGLER:· Blaine, you're going to

·5· ·have to be clear on what you're doing or not

·6· ·doing.· And I'm not going to ask it again.· We'll

·7· ·reserve our rights to come back and get an answer

·8· ·to the question --

·9· · · · · MR. FINLEY:· We always reserve our rights.

10· ·Absolutely.

11· · · ·Q. Just one more time.· And I will move on

12· ·after this.

13· · · · · Dr. Williams, is your overcharge

14· ·regression sensitive to your decision to designate

15· ·one damages period covering 2009 through

16· ·June 2018?

17· · · · · MR. FINLEY:· Sure.· And I'll object on the

18· ·basis of the expert stipulation, among other

19· ·reasons, because this question seems -- is vague

20· ·and ambiguous and also seems to be directed toward

21· ·preliminary calculations and work product that may

22· ·or may not exist, since it has not been specified

23· ·what analysis, in particular sensitivity analysis,

24· ·in the report is being referenced, since Counsel

25· ·will not identify any sensitivity analysis that


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 207
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 33 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         208
·1· ·this question pertains to.

·2· · · · · But if outside of preliminary analysis

·3· ·work product there's an answer to this question,

·4· ·Dr. Williams may answer.

·5· · · ·A. I really don't have anything else to add

·6· ·to my prior answers.

·7· · · ·Q. All right.· And what happens to the

·8· ·results in your overcharge regression if you split

·9· ·the damages period into smaller segments?

10· · · · · MR. FINLEY:· Same objection.· This is

11· ·clearly -- objection on the basis of the expert

12· ·stip.· This seems clearly directed toward

13· ·preliminary work product analysis.

14· · · · · MR. SCHWINGLER:· Is that an instruction

15· ·not to answer?

16· · · · · MR. FINLEY:· Yes, unless there's something

17· ·in the report that touches on this.· I mean, is

18· ·there something in the report you're referencing?

19· · · · · MR. SCHWINGLER:· I have not seen anything

20· ·in the report on this.

21· · · · · MR. FINLEY:· Well, then is your goal to

22· ·pierce the expert stip?

23· · · · · MR. SCHWINGLER:· I'm asking a question.

24· ·You can decide whether you want to instruct the

25· ·witness not to answer.


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 208
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 34 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         209
·1· · · · · MR. FINLEY:· Then I will because I don't

·2· ·understand how this isn't directed toward just

·3· ·going right around or piercing the expert stip.

·4· · · · · MR. SCHWINGLER:· I'm not going to debate

·5· ·this point on the record any more.· You just make

·6· ·a decision whether you're instructing the witness

·7· ·not to answer the question or not, and we'll deal

·8· ·with it later.

·9· · · · · MR. FINLEY:· I definitely am making that

10· ·decision.

11· · · · · MR. SCHWINGLER:· And you're instructing

12· ·him not to answer?

13· · · · · MR. FINLEY:· Like I've put on the record a

14· ·number of times, I'm instructing the witness not

15· ·to answer to the extent that the answer is

16· ·exclusively or really is intertwined with

17· ·preliminary work product.

18· · · · · And as per our back-and-forth, that would

19· ·seem to be a binding instruction, since you've

20· ·refused to identify anything concrete specifically

21· ·in the report that is a sensitivity analysis that

22· ·you're asking a question about.

23· · · · · MR. SCHWINGLER:· And I'm not refusing to

24· ·do anything.· You and I both know it's not in the

25· ·report.· I've been clear about that.


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 209
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 35 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         210
·1· · · · · Why don't I ask a few questions and then

·2· ·we'll move on.

·3· ·BY MR. SCHWINGLER:

·4· · · ·Q. Dr. Williams, isn't it true that your

·5· ·report contains no sensitivity analysis of your

·6· ·overcharge regression?

·7· · · · · MR. FINLEY:· Objection, form.

·8· · · ·A. Well, I suppose it depends on what you

·9· ·think "sensitivity analysis" means.

10· · · · · But my report contains -- with respect to

11· ·the overcharge regression, it contains a single

12· ·overcharge regression.· And my report explains all

13· ·of the data and modeling choices and variables on

14· ·which I'm relying to perform the regression that's

15· ·shown in Table 4.

16· · · ·Q. Your report contains no -- it does not

17· ·report any results for your regression where the

18· ·damages period has been split into smaller

19· ·segments.· Correct?

20· · · · · MR. FINLEY:· Objection, form.

21· · · ·A. That is correct.· There is a single dummy

22· ·variable for the damages period in the overcharge

23· ·regression in Table 4.· There is a single dummy

24· ·variable for the period January 2009 through

25· ·June 2018.


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 210
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 36 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         259
·1· · · · · MR. FINLEY:· Objection, form.

·2· · · ·A. Are you referring -- just so I'm clear,

·3· ·are you referring now to the three regressions we

·4· ·were talking about in Paragraphs 271, -72, and

·5· ·-73?· Are you talking about Table 4 or --

·6· · · ·Q. Let's talk about Table 4.· I think the

·7· ·questions are -- could apply to all, but you can

·8· ·correct me if I'm wrong.

·9· · · · · The dependent variable in that regression

10· ·is the price of pork.· Correct?

11· · · ·A. Yeah.· If you look at Paragraph 220, it's

12· ·not very long.· I'll just read it.

13· · · · · It says, "Dependent variable.· I use the

14· ·natural logarithm of per pound pork product price.

15· ·The use of the natural logarithm of prices is

16· ·common and allows the regression estimates to be

17· ·interpreted in terms of percentage price effects,

18· ·rather than absolute effects in dollars."

19· · · · · So it's the natural logarithm of the

20· ·per-pound pork product price.

21· · · ·Q. And what your overcharge regression does

22· ·is it attempts to explain changes in the dependent

23· ·variable based on the independent variables on the

24· ·right-hand side of the equation.· Right?

25· · · · · MR. FINLEY:· Objection, form.


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 259
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 37 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         260
·1· · · ·A. That is correct.

·2· · · ·Q. And the output, once you've run the

·3· ·regression, is an equation that expresses -- has a

·4· ·variable for each of the control variables in the

·5· ·coefficients.· And that is the way the model

·6· ·predicts pork prices.· Correct?

·7· · · · · MR. FINLEY:· Objection, form.

·8· · · ·A. Yeah.· I don't know if I'd say it quite

·9· ·that way.

10· · · · · But after you run the regression, then you

11· ·get the results that were shown in Table 4.· And

12· ·as you said, each independent variable has its own

13· ·coefficient, its own standard error.

14· · · · · And then it's the use of all of those

15· ·results, all of those estimated coefficients,

16· ·including of course the indicator or the dummy

17· ·variable for the damages period.· It's the use of

18· ·that regression output that yields the but-for

19· ·prices.

20· · · ·Q. Is there a term that you use to describe

21· ·the prices that the model generates?· Would you

22· ·call that a predicted price or an estimated price?

23· · · · · MR. FINLEY:· Objection, form.

24· · · ·A. I just called it the but-for price.            I

25· ·don't think it would be wrong to call it -- you


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 260
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 38 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         261
·1· ·could call it a predicted but-for price.

·2· · · ·Q. As I understand it, to get to the but-for

·3· ·price you have to subtract out the effect of the

·4· ·dummy variable that covers the conspiracy period.

·5· ·Correct?

·6· · · · · MR. FINLEY:· Objection, form.

·7· · · ·A. Yeah.· I don't know if I'd state it quite

·8· ·that way.· But yeah, that's essentially correct.

·9· · · · · You have to -- basically to calculate the

10· ·but-for prices, you're turning on -- you can think

11· ·of it as turning on or off that dummy variable.

12· · · ·Q. I may be oversimplifying it.· There's

13· ·nothing strategic here.· I'm just trying to make

14· ·sure we're talking about the same thing.

15· · · · · Your model has a number of explanatory

16· ·variables, including the damages period.· Correct?

17· · · ·A. Right.

18· · · · · MR. FINLEY:· Objection to form.

19· · · ·A. I think you're referring to the first

20· ·variable in Table 4 where the indicator of damages

21· ·period, which was that dummy variable, which is 1

22· ·in the time period January 2009 through June 2018.

23· · · · · And if we're not in that period, then

24· ·it's 0.

25· · · ·Q. And so to get to the but-for price, you


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 261
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-30 Filed 08/24/22 Page 39 of 39
   In Re: Pork Antitrust Litigation                        Michael Williams, Ph.D.
                                                                   June 21, 2022

                                                                         262
·1· ·would take the price that the model predicts,

·2· ·including all of the variables, and then you would

·3· ·either remove or subtract the effect of the

·4· ·indicator for the damages period.· Is that right?

·5· · · · · MR. FINLEY:· Objection to form.

·6· · · ·A. I don't think I'd state it quite that way,

·7· ·but I think in essence you're stating it

·8· ·correctly.

·9· · · ·Q. Thank you.· Let's take a look at

10· ·Paragraph 261.

11· · · · · (Interruption)

12· · · ·A. I apologize.· Somebody walked into the

13· ·room.· They're gone now.

14· · · ·Q. We can go off the record, if you need to.

15· · · ·A. They're gone.· They were checking --

16· ·well . . .

17· · · ·Q. So in Paragraph 261 you say, "In addition,

18· ·I evaluate whether my model, which controls for

19· ·differences among direct purchasers with the

20· ·inclusion of direct purchaser (and product) fixed

21· ·effects, supports my conclusion that Defendants'

22· ·alleged conspiracy had a common impact on all or

23· ·virtually all direct purchasers.· To accomplish

24· ·this, I use my model to predict but-for prices and

25· ·compare those prices to the actual prices for each


   www.LexitasLegal.com/Premier       Lexitas             888-267-1200 Page 262
                                                                                  YVer1f
